Case 1:22-cv-01032-PKC-JRC Document 130 Filed 01/13/23 Page 1 of 3 PageID #: 1976

                        MILMAN LABUDA LAW GROUP PLLC
                                        3000 MARCUS AVENUE
                                              SUITE 3W8
                                       LAKE SUCCESS, NY 11042
                                               _________

                                      TELEPHONE (516) 328-8899
                                      FACSIMILE (516) 328-0082
                                                                                  January 13, 2023
  VIA ECF
  United States District Court
  Eastern District of New York
  Attn: Hon. Pamela K. Chen, U.S.D.J.
  225 Cadman Plaza East
  Courtroom 4F North
  Brooklyn, NY 11201-1804

         Re:     IME WatchDog, Inc. v. Gelardi, et al.
                 Case No.: 1:22-cv-1032 (PKC) (JRC)
                 MLLG File No.: 25-2022            ___

  Dear Judge Chen:

          This office represents the Plaintiff IME WatchDog, Inc. (“Plaintiff”) in the above-
  referenced case. Plaintiff writes to respectfully request an extension of time of thirty (30) days to
  serve Defendants Nicholas Liakas and Nicholas Elefterakis, an extension of time - nunc pro tunc
  – to serve Defendants Gregory Elefterakis, Roman Pollak, and Anthony Bridda, and to permit
  substitute service by email as against Defendant Nicholas Liakas.

  Relevant Factual Background & Procedural History

        Plaintiff filed an amended complaint on October 13, 2022 naming five (5) additional
  Defendants; namely, Gregory Elefterakis, Roman Pollak, Anthony Bridda, Nicholas Elefterakis,
  and Nicholas Liakas. See ECF Docket Entry 114. On January 12, 2023, Gregory Elefterakis,
  Roman Pollak, and Anthony Bridda were served.1 See ECF Docket Entry 129.

         Attempts to serve Nicholas Liakas, a personal injury attorney,2 have been unsuccessful.
  On January 6, 2023, an attempt at service was made at Mr. Liakas’ actual place of business. The
  lobby staff there informed the process server that they never accept legal documents for anything;
  the process server was not permitted upstairs and nobody came downstairs despite the process
  server waiting for ten (10) minutes. On January 10, 2023, service was attempted at Mr. Liakas’
  usual place of abode, but an individual stated that he was not home. On January 11 and 12, for
  two separate attempts, nobody answered the door despite the fact lights were on inside.

  1
   Notably, multiple service attempts were made on each of these three (3) individuals, all of whom
  work together in an office in downtown Manhattan, which office has suspiciously been closed
  after the first attempt at service.
  2
    This Court may take judicial notice of public records to confirm that Nicholas Liakas is an
  attorney admitted to practice law in the State of New York.
Case 1:22-cv-01032-PKC-JRC Document 130 Filed 01/13/23 Page 2 of 3 PageID #: 1977


         On January 11, 2023, I emailed Mr. Liakas, among other Defendants, and provided a
  waiver of the service of summons form with a request that the same be returned signed. I explained
  that I would move for an extension of time to serve and it is pointless to evade service.
  Notwithstanding, my correspondence was ignored.

           With respect to Nicholas Elefterakis, the Plaintiff and this Defendant have been engaged
  in discussions aimed at resolution and are hopeful that Plaintiff’s claims against this Defendant
  may be resolved without the need for litigation. As such, and at this Defendant’s request, Plaintiff
  has held off on serving him. Plaintiff submits that good cause exists to extend the deadline to serve
  for this reason.

  Legal Standard for Extension of Time & Substitute Service by Email

         A Plaintiff has ninety (90) days to serve a complaint after it is filed. See Fed. R. Civ. P.
  4(m). If a Plaintiff shows good cause for failure to serve a defendant within ninety (90) days after
  the complaint is filed, the court must extend the time for service for an appropriate period. Id.
  (emphasis added).

           Here, Defendants were required to be served within ninety (90) days of October 13, 2022,
  i.e., January 11, 2023. However, despite multiple attempts at service prior to this date, Defendants
  evaded service. Defendants Gregory Elefterakis, Roman Pollak, and Anthony Bridda were served
  on January 12, 2023. See ECF Docket Entry 129. Good cause exists to extend the time, nunc pro
  tunc, for one (1) day to consider service against these Defendants as properly effectuated.

          Further, this Court should permit Defendant Nicholas Liakas to be served via email given
  his evident evasion of service. Rule 4(e)(1) of the Federal Rules of Civil Procedure (hereinafter
  referred to as “Rules” or “Rule”) provides that an individual may be served in a judicial district of
  the United States pursuant to the law of the state in which the district court is located or in which
  service is made. In New York, service may be effected upon a natural person by: (1) personal
  service; (2) delivering the summons within the state to a person of suitable age and discretion at
  the individual's actual place of business, dwelling or usual abode and mailing it to the individual;
  (3) serving the individual's agent within the state; or (4) affixing the summons to the individual's
  actual place of business, dwelling or usual abode and mailing it to the individual. See New York
  Civil Practice Law & Rules (“CPLR”) §§ 308(1)-(4).

          Where service pursuant to paragraphs (1), (2) and (4) is “impracticable,” service may be
  made “in such manner as the court, upon motion without notice, directs.” See CPLR § 308(5).
  “Though the impracticability standard ‘is not capable of easy definition, it does not require the
  applicant to satisfy the more stringent standard of ‘due diligence’ under [CPLR] § 308(4), or to
  make a showing that actual prior attempts to serve a party under each and every method provided
  in the statute have been undertaken.’” See Tishman v. The Associated Press, No. 05-CIV.-4278,
  2006 WL 288369, at *1 (S.D.N.Y. Feb. 6, 2006) (quoting State Street Bank and Trust Co. v.
  Coakley, 16 A.D.3d 403, 403 (2d Dept. 2005)). However, a court order directing service under
  section 308(5) “does require[ ] proof of impracticability in using other forms of service.” See
  TAGC Mgmt., LLC v. Lehman, 842 F.Supp.2d 575, 585 (S.D.N.Y.2012). Based on the fact that
  Mr. Liakas is clearly evading service, this Court should permit substitute service by email as he is
  an attorney who regularly uses email to conduct his business. See, e.g., S.E.C. v. Nnebe, No. 01-
  CIV.-5247, 2003 WL 402377, at *3 (S.D.N.Y. Feb. 21, 2003) (allowing alternative service where
  various attempts to serve the defendant by traditional means had proven unsuccessful).
                                                   2
Case 1:22-cv-01032-PKC-JRC Document 130 Filed 01/13/23 Page 3 of 3 PageID #: 1978


          Indeed, courts routinely find that service by email is appropriate in such circumstances.
  See SEC v. Tome, 833 F.2d 1086, 1093 (2d Cir.1987) (quoting Mullane v. Central Hanover Bank
  and Trust Co., 339 U.S. 306, 314). Accordingly, Plaintiff’s motion to extend the time to serve
  Defendants Nicholas Liakas and Nicholas Elefterakis by thirty (30) days should be granted, and
  Plaintiff’s motion for substitute service via email upon Defendant Liakas should also be granted.

         Plaintiff thanks this Court for its time and attention to this case.

  Dated: Lake Success, New York
         January 13, 2023                        Respectfully submitted,

                                                 MILMAN LABUDA LAW GROUP PLLC
                                                 __/s/ Emanuel Kataev, Esq.______________
                                                 Jamie S. Felsen, Esq.
                                                 Emanuel Kataev, Esq.
                                                 3000 Marcus Avenue, Suite 3W8
                                                 Lake Success, NY 11042-1073
                                                 (516) 328-8899 (office)
                                                 (516) 328-0082 (facsimile)
                                                 jamiefelsen@mllaborlaw.com
                                                 emanuel@mllaborlaw.com

                                                 Attorneys for Plaintiff
                                                 IME WatchDog, Inc.

   VIA ECF                                              VIA ECF
   Warner & Scheuerman                                  Leo Shalit, P.C.
   Attn: Jonathan D. Warner, Esq.                       Attn: Leo Shalit, Esq.
   6 West 18th Street, 10th Floor                       45 Glen Cove Road
   New York, NY 10011-4602                              Greenvale, NY 11548
   (212) 924-7111 (telephone)                           (833) SHALIT-1 (office)
   (646) 692-0166 (direct dial)                         (646) 957-0009 (direct)
   (212) 924-6111 (facsimile)                           (833) 742-5481 (facsimile)
   jdwarner@wslaw.nyc                                   leo@shalit-law.com

   Attorneys for Defendants                             Attorneys for
   Third-Party Plaintiffs                               Third-Party Defendant
   Third-Party Counterclaim Defendants                  Third-Party Counterclaimant
   Safa Abdulrahim Gelardi                              Carlos Roa
   Vito Gelardi, and
   IME Companions LLC
                                                        VIA ECF
                                                        United States District Court
                                                        Eastern District of New York
                                                        Attn: Hon. James R. Cho, U.S.M.J.
                                                        225 Cadman Plaza East
                                                        Courtroom 11D South
                                                        Brooklyn, NY 11201-1804


                                                    3
